Case 1:21-cr-00080-AMD Document 167-4 Filed 09/26/23 Page 1 of 3 PageID #: 3187




Elizabeth Godfrey


20th September 2023


U.S. District Judge Ann M. Donnelly
Eastern District of New York
225 Cadman Plaza
East Brooklyn, NY 11201


Dear Ms. Donnelly,

Doug and I grew up six years apart and as children he was
a very sweet and inclusive older brother. As young adults
we chose divergent paths with our respective higher
educations – and I believe our university environments
largely influenced who we became at that time. While we
both faced internal challenges during those years, we had
starkly opposite identities and life perspectives. This
led to us drifting apart and having a strained
relationship.

When Doug was exposed for his internet alias in 2018 it
was a defining moment in the course of his life and our
larger family dynamics. I was disturbed and angry, and
felt convinced that he was a “bad guy.” After all, that’s
the mindset I had developed from my hyper liberal circles
of influence.

Immediately Doug went to an extended inpatient
rehabilitation center, followed the 12 steps program, and
devoted himself to the Catholic faith. It took some time
for me to choose to participate in his healing journey
and make amends. I believed that anyone was capable of
change and I knew it would be hypocritical and downright
inhumane if I weren’t to practice what I preach and
extend this open mindedness toward my brother.

As we began to communicate with each other about our
lives and especially the past, an understanding was born,
which grew. It surprised me how easy this understanding
was achieved. After years of there being distance and
even negativity between us, I found myself actually being
an intermediary between Doug and some extended family
Case 1:21-cr-00080-AMD Document 167-4 Filed 09/26/23 Page 2 of 3 PageID #: 3188



members. I was earnest in my efforts to help anyone with
curiosity to see the larger picture.

What I found from Doug’s story between 2018-2020 were two
truths. First, it often takes experiencing an incredibly
challenging life event to catalyze lasting and dramatic
change in oneself. Second, those who haven’t undergone
such a transformation often have a very difficult time
accepting it in others.

Despite our prior differences, which were vast, Doug and
I had the good fortune of having both made pronounced
changes in how we relate to ourselves and the world.

When Doug was arrested in 2021 I wanted to help in
whatever way I could so I helped to launch his legal
defense fund. Soon thereafter I became pregnant and
wasn’t able to play as active a role as I would have
liked to. I traveled to Florida to visit him and his
girlfriend (now wife) Ines that spring.

Doug went above and beyond hosting me for that visit and
it was reminiscent of the way I felt around him as kids:
like someone was really looking out for me. He made sure
to fill our time with things that I would enjoy, like
walking around Japanese gardens; he cooked lots of food
for me; held open every door; and took me to his place of
worship. But what I really noticed was his relationship
with Ines. There was a sweet, playful quality to their
relationship and his behavior toward her made it really
clear to me the kind of man he had become.

Since then we’ve been able to commune for each of our
respective weddings and it has been a real joy to
continue a solid relationship with my brother. At Doug’s
wedding, I got to see the way Ines’ nephew looks up to
him with respect and adoration as a male role model. Doug
is expecting a baby in November and I love being able to
share in our core values of loyalty, family, and faith.

It is so clear to me that Doug’s dark days have passed.
It may not be as evident to those who aren’t close family
and friends but Doug has put a tremendous amount of time
and effort into making amends for the consequences of his
words online – from a chapter which is long over.

May he be able to move forward with all the goodness in
his life that he has worked so hard to create. May he
Case 1:21-cr-00080-AMD Document 167-4 Filed 09/26/23 Page 3 of 3 PageID #: 3189



have the invaluable opportunity and right to be present
as a father for his son’s first years.

Please, Ms. Donnelly, consider this letter when
deliberating Doug’s sentence.

Elizabeth Jade Godfrey
